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 1                                  IN THE UNITED STATES DISTRICT COURT
 1                                  FOR THE SOUTHERN DISTRICT OF TEXAS
 2
 2                                           HOUSTON DIVISION
 3
 3
 4       EXXON MOBIL CORPORATION,
 4
 5                                  Plaintiff,
 5
 6
 6                             v.                              Civil Action Nos. H-10-2386 (LHR)
 7                                                                               H-11-1814 (LHR)
 7       UNITED STATES OF AMERICA,
 8
 8
 9                                  Defendant.
 9
10
10
11
11                           REBUTTAL DECLARATION OF RICHARD LANE WHITE
12
12
13
13   I, Richard Lane White, declare and state as follows:
14
14           1.      My name is Richard Lane White. I am over eighteen (18) years of age and reside
15
15   at 1230 River Road, Plainfield, NH 03781. I have personal knowledge of the facts set forth in this
16
16   declaration and am competent to testify to them if necessary.
17
17           2.      My recent declaration (December 15, 2017) as well as my prior reports submitted
18
18   in this case provide a summary of my qualifications.
19
19           3.      I have been retained by counsel for Exxon Mobil Corporation (Exxon) to evaluate
20
20   cost allocation issues that may form the basis for the Court to develop an equitable allocation
21
21   determination related to Exxon’s past and future wartime-related response costs at two Exxon
22
22   facilities: the Baytown Facility in Baytown, TX (Baytown Facility or Baytown Site) and the Baton
23
23   Rouge Facility in Baton Rouge, LA (Baton Rouge Facility or Baton Rouge Site) (collectively, the
24
24   Facilities or Sites).
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25
26
26




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 1
 1          4.      I have developed a methodology for allocating the response costs at each site to the
 2
 2   respective parties, i.e., Exxon and the United States of America (United States or Government) in
 3
 3   these two cases. Key points related to this allocation are described in further detail below.
 4
 4          5.      It is my opinion that my proposed allocation framework is reasonable and equitable
 5
 5   and based on sound technical and scientific data.
 6
 6          6.      A reasonable and equitable allocation should account for the integration of the
 7
 7   site-wide production operations and waste system at each Facility. My allocation reflects the
 8
 8   close integration of the Government Plancors and Baytown Ordnance Works (BOW) operations
 9
 9   with the refinery operations. In its Phase 1 decision, the Court found that the Government plants
10
10   and the refineries constituted a single “facility” under CERCLA, given “the interrelated need for
11
11   avgas and rubber production, the plants’ and refineries’ proximity to each other and location on
12
12   the same sites, and the shared destination for the released wastes”.1 In addition, according to the
13
13   expert opinions and findings of Gregory Kipp, Jere M. Johnson, and A.J. Gravel, as well as the
14
     historical wartime record, the Government-owned plants were fully integrated so that they
14
15   produced essential raw materials for the refinery and vice versa, relied on the refinery’s
15
16   infrastructure for necessary utilities and operational support, and relied upon the refinery waste
16
17   processing system to manage and dispose of much of their wastes at both Facilities.2 The
17
18   Government intended and required this close integration; for example, in wartime, internal
18
19   Government correspondence, the Government’s Director of Refining stated that “the raw materials
19
20   used as charging stock to the new facilities comprise gases derived from other refinery field and
20
21   plant operations. Therefore, the overall facilities are integrally interspersed throughout the oil
21
22   company’s properties and cannot be claimed as isolated units.”3 It is my opinion that there is a
22
23
23
24   1
24       Exxon Mobil Corp. v. United States, 108 F. Supp. 3d 486, 519 (S.D. Tex. 2015).
25   2
         White Supplemental Report (January 2017), pp. 49-78.
25   3
26       White Supplemental Report (January 2017), page 54 quoting Letter from W. Gary, PAW Director of
26       Refining to R. Eicholz, Office of Legislative Counsel, Treasury Dept. at pp. 1-2 (A003396 - A003999
         at A003396 to A003397).



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 1
 1   sufficient factual basis regarding the close integration of the operations of the Government plants,
 2
 2   which were part of this overall system, and refineries to fully take this integration into account in
 3
 3   my allocation.
 4
 4          7.        Similarly, the waste system was designed to function as a single, site-wide, inter-
 5
 5   dependent system at each Facility. According to the historical record and the findings of experts
 6
 6   Messrs. J. Johnson and Kipp, each Facility contained a singular waste system in which wastewaters
 7
 7   generated by the production operations were conveyed through inter-connected sewers and
 8
 8   drainage canals to a series of oil/water separators for processing, and then the wastewaters were
 9
 9   ultimately discharged to an adjacent water body, while the sludge generated by the operation of
10
10   the separators was disposed of (at least prior to the post-war effluent improvement program) into
11
11   various sludge pits.4 Then, after the war, one of the primary results of the effluent improvement
12
12   program at each Facility was that the waste system was examined as a whole and significantly
13
13   upgraded with the addition of various, state-of-the-art waste handling improvements, such as, for
14
     example, pre-separators, effluent filtration unit or effluent treatment unit, and a sour water
14
15   stripper.5 While the post-war waste system was a greatly improved version of the wartime waste
15
16   system, both were a singular, self-contained system. This is further illustrated, for example, by two
16
17   schematics in a 1952 Humble Oil report regarding the Baytown Facility in which the Humble
17
18   engineers depict in one schematic the mid-1940s facility-wide “Waste Disposal System Before
18
19   Beginning Effluent Improvement Program”, and then in the second schematic the facility-wide
19
20   “Present Waste Disposal System” after many of the improvements had been implemented.6 The
20
21   Government’s allocation expert – Matthew Low – has assumed incorrectly in support of his
21
22   allocation methodology that all of the waste units were independent and separate from all other
22
23   waste units; however, Mr. Low had to dissect the singular waste system at each Facility into its
23
24
24   4
25       See Expert Report of Jere M. Johnson (June 2012), pp. 80-91 and 93-108.
25   5
         See Supplemental Expert Report of Gregory G. Kipp (December 2016), pp. 11-14; Expert Report of
26       Jere M. Johnson (June 2012), pp. 110-21 and 126-37.
26   6
         See Expert Report of Jere M. Johnson (June 2012), pp. 84 and 114.



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 1
 1   component parts (i.e., waste units) to support his flawed assumption. In my opinion and given that
 2
 2   the waste system at each Facility was designed to function as a single, dependent system, the waste
 3
 3   units which comprise the waste system should be viewed as complementary and integrated for
 4
 4   purposes of allocation; in fact, it would be entirely inappropriate to treat the waste units separately
 5
 5   and individually at each Site.
 6
 6           8.      Accordingly, I distributed response costs (and contamination) to years of relevant
 7
 7   operation on a site-wide basis (the “intra-class allocation” step).7 To distribute costs to years I first
 8
 8   used the well-established proxy measure of relative “production,” where production serves as a
 9
 9   proxy for waste generation and contaminant contribution, and thus the related costs. I used this
10
10   data set because it was the only complete data set available for analysis; it is my view that
11
11   allocations are much more reliable when they are based on a set of comprehensive available data.
12
12   I specifically used for production the annual crude oil throughput capacity of each refinery as the
13
13   surrogate for the amount of waste generated per year. The technical experts for both parties
14
     concurred that waste generation at these two Exxon refineries was proportional to the crude
14
15   processing rate, although process control and waste handling improvements should also be taken
15
16   into account.8 Second, because the production-based contamination surrogate must be modified to
16
17   reflect factors that impact waste generation and/or contaminant contribution, I also utilized
17
18   “adjustments” for waste process efficiency that accounted for each Facility’s implementation of
18
19   process control and waste handling improvements. I applied both the production-based
19
20   contamination surrogate and the waste process efficiency “adjustments” on a site-wide basis due
20
21   to the integration of the production operations, process controls and waste handling system at each
21
22   Site. This is consistent with how allocations have been performed at other industrial facilities that
22
23   were designed to produce wartime products.
23
24
24
25
25
26   7
         See Declaration of Richard Lane White (December 15, 2017), ¶¶ 12-23.
26   8
         White Supplemental Report (January 2017), pp. 14-17.



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 1
 1          9.      1985 is the appropriate end point for the intra-class allocation. As discussed
 2
 2   above, the first step in my allocation process (the intra-class allocation) assigns costs (and the
 3
 3   waste or contamination) to years of relevant operation. The time period that I assign costs to is the
 4
 4   year of initial operations at each Facility through 1985. The date of initial operations for the
 5
 5   Baytown Facility is 1920, and the date of initial operations for the Baton Rouge Facility is 1909. I
 6
 6   determined that 1985 was the appropriate end point because by or before this date the operations
 7
 7   at both Facilities would have been subject to stringent environmental regulatory and permitting
 8
 8   requirements under both state and federal law, such as the Clean Water Act of 1972, 33 U.S.C. §§
 9
 9   1251 et. seq., and the Resource Conservation and Recovery Act of 1976, 42 U.S.C. §§ 6901 et.
10
10   seq. After 1985, discharges from these Facilities would generally only have been allowed if they
11
11   were consistent with public health and environmental requirements. Accordingly, it is my opinion
12
12   that 1985 is a reasonable end point for the years of allocation because any post-1985 contamination
13
13   would have been negligible.
14
            10.     Significant data supports the waste process efficiency “adjustments”. As
14
15   discussed in ¶ 8, I utilized “adjustments” for waste process efficiency that account for each
15
16   Facility’s implementation of process control and waste handling improvements, and these
16
17   “adjustments” are identified and described in my reports.9 These “adjustments” were based on
17
18   historical records regarding the timing and nature of the post-war, plant-level process control
18
19   improvements and waste handling improvements, and related historical data memorializing the
19
20   effects of these improvements on pollution control and reduction. It is my opinion that there is a
20
21   more than sufficient amount of historical data in this case to support these waste reduction
21
22   adjustments as part of my allocation, and furthermore and as discussed in ¶ 13 below, a number of
22
23   experts evaluated and confirmed that these historical data were reliable and my use of these data
23
24   for this purpose was valid, appropriate and reasonable.
24
25
25
26   9
26       See White Supplemental Report (January 2017), page 30 (list and descriptions of the production
         adjustments).



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 1
 1           11.     The record includes a significant amount of historical documentation identifying
 2
 2   the post-war pollution control practices adopted at both Facilities, and their effect on pollution
 3
 3   control and reduction. For example, the record includes a technical document authored for the
 4
 4   American Petroleum Institute by Jody Perkins which demonstrated that the Baytown Facility had
 5
 5   achieved a 70% reduction in the amount of separator sludge generated at the refinery on a per
 6
 6   barrel basis between 1947 and 1957.10 Other examples of historical documents showing waste
 7
 7   reductions and improvements at the Baytown Site include the following:
 8            
 8                       a. “New Effluent Filtration Unit Goes Into Operation at Baytown,” The
 9                          Humble Bee, September 1951 (BAYC-00013892 to BAYC-00013897)
 9                          (A002462 - A002467).
10
10                       b. “Stop That Leak!”, The Humble Way, Jan.-Feb. 1952, (BAYC-0013898 to
11                          BAYC-00013901) (A002425 - A002428).
11
12                       c. “Minutes of the 22nd General Meeting” (Refinery Loss Committee,
12                          Humble; Mar/Apr. 1952) at p. S-8-5 (MIS-00031624 to MIS-00031667)
13                          (A002347 - A002390).
13
14                       d. Brady, S.O. "Effluent Improvement Program at Humble's Baytown
14                          Refinery" reprinted in Environmental Bulletin: Proceedings of the Ninth
15                          Industrial Waste Congress (Purdue Univ.; May 1954) (BAYC-00013615 to
15                          BAYC-00013620) (A000823 - A000828).
16
16                       e. Brady, S.O., "Solids Waste Disposal," The Oil and Gas Journal, Vol. 56,
17                          No. 9 (Mar. 3, 1958) (BAYC-00013621 to BAYC-00013624) (A002488 -
17                          A002491).
18
18                       f. Resen, L., “Humble Attacks Pollution at Baytown - Part 1” The Oil & Gas
19                          Journal (Oct. 5, 1959) (BAYC-00013625 to BAYC-00013631) (A002413 -
19                          A002419).
20                       g. Humble Oil, “Supplemental Engineering Report” (attached to “Amendment
20
21                          to Wastewater Permit No. 00592,” (Texas Water Pollution Control Board,
21                          June 24, 1964)) (BAYC-00013637 to BAYC-00013648) (A002492 -
22                          A002503).
22                       h. Memorandum from H. H. Maier , Humble to J. M. Harvey, "Air and Water
23
23                          Pollution Effect on Plant and Field Installations, Baytown Refinery," Sept.
24                          23, 1964 (BAYC-00000800 to BAYC-00000805) (A002504 – A002509).
24
25
25   10
26        Perkins, J., An Historical Overview of Solid Waste Management in the Petroleum Industry: Discussion
26        Paper No. 062 (American Petroleum Institute, October 1990) (MISC-00010288 to MISC-00010307)
          (A002468 - A002487 at A002483 to A002484).



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 1                      i. “How Humble Combats Water and Air Pollution,” The Oil & Gas Journal
 1                         (Mar. 28, 1966) (BAYC-00013649 to BAYC-00013653) (A002510 -
 2
 2                         A002514).
 3                      j. Brady, S. O. et al. “History of Baytown Refinery's Activities in Air and
 3                         Water Pollution Control” (Humble; 1966) (BAYC-00000106 to
 4                         BAYC00000116) (A002396 - A002406).
 4
 5                      k. Memorandum re “Baytown Refinery Air and Water Conservation Program”
 5                         dated Jan. 15, 1970 from S. O. Brady, Humble (BAYC00000315 to BAYC-
 6                         00000330) (A002435 - A002450).
 6
 7
 7   This is a significant amount of reliable historical data and, in fact, is more than necessary in my
 8
 8   view from an allocation perspective to support the use of the waste process efficiency
 9
 9   “adjustments” that have been adopted as part of my allocation methodology. It is my view that this
10
     is more than enough to satisfy the data requirements necessary to implement a valid allocation
10
11   here, and far more than I often see in other allocation matters.
11
12          12.     Examples of historical documents showing waste reductions and improvements at
12
13   the Baton Rouge Site include the following:
13
14                      a. “Operation of the Oil Conservation Department at the Baton Rouge
14                         Refinery,” May 1950 (BRHIS-00013937 to BRHIS-00013989) (A002590 -
15                         A002642).
15
16                      b. “Master Separator Gives Water From Refinery Final Clean Up Before
16                         Discharge into River,” The Stanocolan, January 9, 1953 (BRC-00022407 to
17                         BRC-00022408) (A002643 - A002674).
17
18                      c. Robert T. Denbo, “Effluent Control at a Large Oil Refinery,”
18                         Environmental Science and Technology, v. 5, No. 11, November 1971
19                         (BRC-00022821 to BRC-00022826) (A002675 - A002680).
19
20   This is a significant amount of reliable historical data and in fact, is more than necessary in my
20
21   view from an allocation perspective to support the use of the waste process efficiency
21
22   “adjustments” that have been adopted as part of my allocation methodology. It is my view that this
22
23   is more than enough to satisfy the data requirements necessary to implement a valid allocation
23
24   here, and far more than I often see in other allocation matters.
24
25          13.     A number of experts reviewed and evaluated these and other historical records
25
26   regarding the timing and nature of the post-war, plant-level process control improvements and
26




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 1
 1   waste handling improvements, and related historical data confirming the effects of these
 2
 2   improvements on pollution control and reduction.11 Historical expert – Mr. Gravel – conducted
 3
 3   research to locate and compile much of this historical information and data.12 Refinery remediation
 4
 4   expert – Mr. J. Johnson – examined the post-war records and data and found that from a technical
 5
 5   perspective, the process control and waste handling improvements “resulted in large reductions in
 6
 6   solid waste quantities and significant improvements in wastewater quality despite increases in
 7
 7   annual crude oil throughput.”13 Forensic waste expert – Mr. Kipp – conducted a detailed analysis
 8
 8   of the specific nature of these improvements and related historical data in order to determine, and
 9
 9   ultimately confirm, that the historical data showing the quantitative oil loss reductions, slop or
10
10   sludge reductions, wastewater volume reductions, and oil concentration reductions in the
11
11   wastewater effluent were valid data points at both Sites.14 In addition, both Messrs. Kipp and J.
12
12   Johnson evaluated whether this historical data provided sufficient scientific support for the waste
13
13   process efficiency “adjustments”, and their timing and magnitude, that I employed in the allocation
14
     for the respective Sites, and concluded that these “adjustments” were indeed valid, appropriate and
14
15   reasonable.15 In fact, Mr. Kipp further found that the “process efficiency factors are actually
15
16   conservative because they do not fully reflect significant advances in pollution control and
16
17   reduction that occurred during time periods when quantitative data is not available, and do not
17
18   fully reflect the synergistic effect of pollution control and reduction measures as a whole.”16
18
19           14.     Further, given that many of the documents described in ¶¶ 11-12 above were
19
20   authored contemporaneously with the time of the improvements, and many were published in well-
20
21
21
22
22   11
          White Supplemental Report (January 2017), pp. 18-24.
23   12
23        See Expert Report of A. J. Gravel (June 2012), pp. 91-98 and 187-99.
24   13
          See Expert Report of Jere M. Johnson (June 2012), pp. 110-137.
24   14
25        See generally Supplemental Expert Report of Gregory G. Kipp (December 2016).
25   15
          See Rebuttal Report of Jere M. Johnson (December 2012), pp. 52-56; Supplemental Report of Gregory
26        G. Kipp (December 2016), pp. 33-34; White Supplemental Report (January 2017), pp. 19-21.
26   16
          See Supplemental Report of Gregory G. Kipp (December 2016), page 3, and also pp. 25-26 and 33-34.



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 1
 1   regarded technical journals, in conjunction with the findings and opinions of the experts described
 2
 2   in ¶ 13, it is my opinion that these data are reliable and would be appropriate to use in formulating
 3
 3   a “production-based” allocation methodology. In fact, it is my opinion that there are significantly
 4
 4   more reliable data in this case than in others involving events that took place as far back as World
 5
 5   War II (WWII), given how challenging it can be to reconstruct historical events from many decades
 6
 6   ago.
 7
 7            15.     The Government was involved in 100% of Facility processes and controlling
 8
 8   the use of crude oil during the wartime period, and this should be accounted for in the
 9
 9   allocation. The second step of my allocation process is determining what costs are included. The
10
10   Government mandated that these two Facilities be devoted to the maximum production of avgas
11
11   and other war products, and employed numerous directives, orders, programs and other measures
12
12   to compel these Facilities to operate their production operations continuously and with little
13
13   downtime for war products production.17 The Government’s Petroleum Administration for War
14
     (PAW”), which one of the Government’s own reports referred to as “the virtual czar of 100-octane
14
15   in the United States”, controlled these refineries and their use of crude oil in order to require them
15
16   to produce the maximum amounts of avgas and other urgently needed war products possible.18
16
17   According to a wartime Government report, “Refiners were instructed to sell and ship available
17
18   components in such a manner to squeeze out the last barrel of product, regardless of commercial
18
19   and economic considerations.”19 It is further my opinion that, given the nature of a refinery, and
19
20   the fact that cracking a barrel of crude oil to make avgas and other wartime products necessarily
20
21   creates other products as well, the Government was effectively involved in 100% of Facility
21
22   processes during the wartime period. Put another way, the Government controlled the “front-end”
22
23   of the production process, i.e., the cracking of the crude, and due to the nature of refinery
23
24
24   17
25        See Expert Report of A. J. Gravel (June 2012), pp. 20-27, 70-75, 84-86; Rebuttal Report of A. J. Gravel
25        (Dec. 2012), pp. 15-24.
26   18
          See Expert Report of A. J. Gravel (June 2012), pp. 22 and 26.
26   19
          See Expert Report of A. J. Gravel (June 2012), page 82.



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 1
 1   operations, was necessarily involved in all processes that occurred as a result of the processing of
 2
 2   the crude oil.
 3
 3           16.      During the war the Government set up the Planned Blending Program which
 4
 4   controlled the full use of crude oil and other raw materials. Through this program and related
 5
 5   requirements, PAW controlled both the Baytown and Baton Rouge refineries’ supply of crude and
 6
 6   other raw materials, required that all crude be processed to maximize avgas production, restricted
 7
 7   many intermediate raw materials to be used only for avgas production, dictated the types and
 8
 8   amounts of avgas and other war products to produce on a daily basis from the allocated crude and
 9
 9   other raw materials, and virtually controlled all plant-level operations.20
10
10           17.      In fact, it is my understanding that experts for both parties in this case have opined
11
11   that it was technically necessary for the refineries to process all the crude allocated to maximize
12
12   the production of avgas as required by the Government. For instance, Dr. James Kittrell, the
13
13   Government’s expert, testified in deposition that “to try to maximize the Avgas” a refinery would
14
     have to “run all the crude you have[.]”21
14
15           18.      Refinery operations experts David B. Lerman and John M. Beath similarly opined
15
16   that the Baytown and Baton Rouge Facilities had to process all of the crude oil in order to maximize
16
17   avgas production. As a purely technical matter, Mr. Lerman stated that “[r]efiners cannot convert
17
18   a barrel of crude oil solely into a barrel of a single product such as avgas.” Mr. Lerman further
18
19   stated that “all of the crude had to be processed to produce the avgas. . . . Therefore, all of the
19
20   crude oil charged at Baytown and Baton Rouge contributed to the production of avgas during the
20
21   WWII war effort” and “a reduction in crude distillation rate would have reduced avgas
21
22   production.”22 Mr. Beath similarly stated that “it is my further opinion that all of the crude oil
22
23
23
24   20
24        See White Supplemental Report (January 2017), pp. 7-8.
25   21
          Dr. James R. Kittrell Dep. Tr. Vol. 1 (March 30, 2017), page 111 (A003315 – A003320 at A003318).
25   22
26        Expert Report of David B. Lerman (September 2015), pp. 6-8 and 32.
26




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 1
 1   processed at these refineries was necessary to meet these avgas production goals. The first step in
 2
 2   the production of avgas was the processing of crude oil in the distillation units because such crude
 3
 3   oil processing was necessary to produce the avgas base stock and the avgas components.”23
 4
 4           19.     Further, Messrs Lerman and Beath opined that in order to meet the Government’s
 5
 5   mandate of maximum avgas production, which simultaneously resulted in the production of a
 6
 6   number of byproducts that were themselves war products, it required the integrated, and closely-
 7
 7   coordinated operation of virtually the entire Baytown and Baton Rouge Facilities in which the
 8
 8   Government assumed control over. Mr. Lerman stated that “[i]f a refinery is an orchestra, the
 9
 9   individual process units are the instruments, and then the planning and scheduling function is the
10
10   conductor” and “[t]o maximize avgas production for the WWII war effort, the government took
11
11   over the planning and scheduling function and issued operational instructions” to both refineries
12
12   for this purpose.24 Mr. Beath opined that the maximum production of avgas mandated by the
13
13   Government required the operation of virtually all of the process units in close coordination, and
14
     illustrated this in a flow chart of the wartime production operations.25
14
15           20.     Given this record, it is my opinion that the Government was comprehensively
15
16   involved in the operations of the refineries and their use of crude oil and that this factor should be
16
17   accounted for as part of the allocation methodology. This situation is similar, if not identical, to
17
18   other wartime cases where the plants were converted to war products production at the
18
19   Government’s direction.
19
20
20
21
21
22
22   23
23        Rebuttal Report of John M. Beath (December 2012), page 6.
23   24
          Expert Report of David B. Lerman (September 2015), pp. 28-29.
24
24        See White Supplemental Report (January 2017), pp. 37-38.
25   25
          Rebuttal Report of John M. Beath (December 2012), p. 6 and Figure 4 (attached to Exxon’s summary
25        judgment motion). Mr. Beath color-coded a 1943 Baton Rouge production flow diagram to depict how
26        virtually all process units were involved in avgas production at the refinery.
26
          See White Supplemental Report (January 2017), p. 38.



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 1
 1            21.     There are a number of key equitable factors which should be considered by
 2
 2   the Court in the equitable allocation determination. I am certainly mindful that it is the province
 3
 3   of the Court to decide which equitable factors are applicable and how they should be applied. I am
 4
 4   merely recommending the equitable factors that I consider applicable and useful based on my past
 5
 5   experience in other allocation cases and given the site-specific circumstances, and have provided
 6
 6   a proposed allocation methodology in which such equitable factors could be incorporated and
 7
 7   applied. I would suggest that the following equitable factors should be considered by the Court in
 8
 8   determining the Government’s “degree of involvement” for the wartime-related cleanup costs at
 9
 9   both Sites: (a) the amount of control that the Government exercised over plant operations during
10
10   the wartime period; (b) the knowledge and acquiescence of the Government in the contaminating
11
11   activities; (c) the implementation of stringent wartime Government policies preventing the
12
12   installation of necessary pollution control equipment that resulted in continued pollution after the
13
13   war; and (d) the value or benefit of the contamination-causing activities in furthering the
14
     Government’s national defense efforts. A number of other courts have considered these types of
14
15   equitable factors in determining the Government’s “degree of involvement” in plant operations in
15
16   either similar wartime contexts involving war products production or comparable non-wartime
16
17   contexts involving production for national defense-related purposes.26
17
18            22.     The wartime avgas supply contracts (AvGas Contracts) also should be
18
19   considered in the equitable allocation determination because they memorialized the parties’
19
20   intent that the Government would reimburse or indemnify Exxon for wartime-related
20
21   “charges”, including cleanup costs. The U.S. Court of Appeals for the Federal Circuit ruled in
21
22
22
23   26
          See White Supplemental Report (January 2017), pp. 79-87, 131-38; see, e.g., Cadillac Fairview/Calif.,
23
24        Inc. v. Dow Chemical Co., 299 F.3d 1019, 1029-30 (9th Cir. 2002); United States v. Shell Oil Co., 294
24        F.3d 1045, 1060-61 (9th Cir. 2002); United States v. Shell Oil Co., 13 F. Supp. 2d 1018, 1026-27 (C.D.
25        Cal. 1998); Lockheed Martin Corp. v. United States, 35 F. Supp. 3d 92, 123-24 (D.D.C. 2014); Amer.
25        Int’l Spec. Lines Co. v. United States, No. 09-10743, 2013 WL 135405, at *4-5 (C.D. Cal. Jan. 9, 2013)
26        .
26




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 1
 1   2014 in the case of Shell Oil Co. v. United States that a cost reimbursement provision in AvGas
 2
 2   Contracts between the Government and each of the plaintiff oil companies required the United
 3
 3   States to reimburse these oil companies for wartime-related “charges”, and the term “charges”
 4
 4   included environmental cleanup costs incurred by these oil companies by reason of the production
 5
 5   of avgas.27 In fact, consistent with the Federal Circuit’s decision and in that same case, the U.S.
 6
 6   Court of Federal Claims recently ruled in the damages phase that the United States was responsible
 7
 7   for 100% of these oil companies’ cleanup costs at the site at issue under these AvGas Contracts.28
 8
 8   Exxon’s predecessors also had AvGas Contracts with the Government concerning avgas
 9
 9   production at the Baytown and Baton Rouge Facilities that contained pertinently-identical cost
10
10   reimbursement provisions; in fact, the Court of Federal Claims ruled that the United States was
11
11   subject to liability to Exxon for environmental cleanup costs incurred by reason of the production
12
12   of avgas under these AvGas Contracts at these two Sites.29 Contractual arrangements, such as those
13
13   memorialized in Exxon’s AvGas Contracts, which establish the intent of the parties regarding the
14
     allocation of response costs are an oft-cited equitable factor in CERCLA equitable factor
14
15   determinations. This factor should be considered as one of the several key factors in the allocation
15
16   in this case.
16
17            23.     Given the scope of the cost reimbursement provision in the AvGas Contracts,
17
18   under my allocation methodology the impact of Exxon’s contract claim is that it picks up or
18
19   incrementally assigns to the Government any remaining part of the allocated share of
19
20   cleanup costs attributable to the WWII period and other applicable period30 that has not
20
21
21
22   27
          Shell Oil Co. v. United States, 751 F.3d 1282, 1296 (Fed. Cir. 2014).
22
23   28
          Shell Oil Co. v. United States, 130 Fed. Cl. 8 (2017).
23   29
24        Exxon Mobil Corp. v. United States, 101 Fed. Cl. 576 (2011).
24   30
          Under my allocation methodology with respect to Exxon’s contract claims, I have assigned a contract
25        value (i.e., contract-based allocated share to the United States) to both the years that the AvGas
25        Contracts were in effect (i.e., 1942-45), and the subsequent years in which the “delay” calculations
26        applied. See White Supplemental Report (January 2017), pp. 100-45 (describes the bases for my
26




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 1
 1   been assigned to the Government solely on the basis of Exxon’s CERCLA claims. As I noted
 2
 2   above, in the Shell case the U.S. Court of Federal Claims recently ruled that the United States was
 3
 3   responsible for 100% of those oil companies’ cleanup costs at the site at issue under pertinently-
 4
 4   identical AvGas Contracts during the period these contracts were in effect.31 Consistent with this
 5
 5   Shell decision, my allocation methodology solely with respect to Exxon’s contract claims (and
 6
 6   without consideration of Exxon’s additional CERCLA claims) also assigns to the United States
 7
 7   100% of the cleanup costs at the Baytown and Baton Rouge Sites that are attributable to the WWII
 8
 8   period. In other words, under my allocation methodology and based solely on consideration of
 9
 9   Exxon’s contract claims and without consideration of the effect of Exxon’s CERCLA claims, I
10
10   have assigned the United States’ 100% of the cleanup costs at both Sites attributable to the WWII
11
11   period.32 Consequently, if the CERCLA allocation also takes into account Exxon’s contract claims,
12
12   then under my allocation methodology the Government is assigned 100% of the cleanup costs
13
13   attributable to the WWII period at both Sites because the allocation for the contract claims picks
14
     up or incrementally assigns to the Government any part of the 100% allocated share than was not
14
15   assigned to the Government under a CERCLA-only allocation.33
15
16
16
17
17
18        “delay” analysis, the “delay” calculations, and the period of time that the “delay” analysis is applied at
18        each Site).
19   31
          Shell Oil Co. v. United States, 130 Fed. Cl. 8 (2017).
19   32
20        For example, under my allocation methodology, the WWII year of 1942 was assigned 4.14% of the
20        total response costs claimed by Exxon at the Baytown Site. Under my allocation methodology, the
21        United States is assigned 100% of these response costs for 1942 (i.e., all of the 4.14%) based solely on
21        the impact of Exxon’s contract claims and without consideration of Exxon’s CERCLA claims.
22   33
          For example, and once again in regard to the WWII year of 1942, under my allocation methodology
22
          Exxon was assigned 2.28%, and the United States was initially assigned 1.86%, of the 4.14% of the
23
          total response costs assigned to 1942 under a CERCLA-only allocation that did not include
23
24        consideration of the Exxon’s contract claims. However, if the CERCLA allocation also includes
24        consideration of the Government’s contractual obligations under the AvGas Contracts, then the contract
25        claims allocation would pick up the 2.28% initially assigned to Exxon, and incrementally assign this
25        percentage to the United States, with the result that the U.S. is assigned the entire 4.14% in total
26        response costs for the WWII year of 1942.
26




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 1
 1            24.      Key differences in allocation methodology. In my 2012 Rebuttal Report I
 2
 2   provided an overview of the major differences in allocation methodology between Mr. Low’s
 3
 3   methodology and my methodology.34 At its core, there are the following 5 major differences:
 4
 4                  i. Basis for intra-class allocation: Use of time versus crude oil throughput as modified
 5
 5                     to reflect process control and waste handling improvements;
 6
 6                  ii. Fraction of production under “control” or “war-related”;
 7
 7               iii. Basis for inter-class allocation: “degree of involvement” or control;
 8
 8               iv. Impact of Government-directed delays in waste processing improvements; and
 9
 9                  v. Scope of “contract” coverage
10
10   These issues have a pronounced impact on the allocation. Years-of-use, which Mr. Low relies on,
11
11   by itself, is a major difference. Yet it is quite clear from the facility-specific data that this
12
12   underlying assumption – that all else is equal – is factually incorrect. All things are not equal (as
13
13   was the case during the war), the crude oil surrogate approach more closely resembles in the first
14
     place how waste was generated at the refineries. The crude oil production data demonstrate this.
14
15   Even Dr. Kittrell has opined that there was a significant amount of new plant construction
15
16   undertaken at both Facilities during the wartime period specifically to address Government
16
17   dictates;35 this had a significant impact on the pollution generated at these plants and would
17
18   therefore have an effect on my allocation methodology. Crude oil as a surrogate more closely
18
19   relates to what is generated – both as product and as waste – at the refineries. Likewise, where
19
20   involvement occurs – the “front-end” versus the “back-end” – likewise accounts for major
20
21   differences in our approaches. All of the issues above, taken together, differentiate our two
21
22   approaches.
22
23            25.      The impact of these differences can be seen in an analysis I performed in my 2017
23
24   Supplemental Report (an earlier version of which was also provided in my 2012 Rebuttal Report),
24
25
25
26   34
          Rebuttal Report of Richard Lane White (December 2012).
26   35
           Expert Report of Dr. James R. Kittrell (February 2015), p. 18 (Table 5).



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 1
 1   where I showed the step-wise impact of these issues. Specifically, evaluating the 1943 results for
 2
 2   Baytown, these differences have a nearly 80% impact on the analysis. Moreover, the impact of the
 3
 3   AvGas Contract is that all of these costs should be covered by the contract itself. See Table 1.
 4
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 1
 1                                                                     TABLE 1
 2
                                       A Step‐Wise Analysis of the 1943 Baytown Complex Allocation
 2
 3                                                                      STEP 1                  STEP 2                 STEP 3A                  STEP 3B
 3
 4                                            White 2017                                     Then Adopt 
                                                                                                                     Remove 
                                                                                                                                              Then Adopt 
                        Step                                        Adopt Low                                      Certain Costs 
 4                                            Allocation                                   Low Back‐End                                     Low Degree of 
 5                                                                 Years‐of‐Use                                        From 
                                                                                            Involvement                                      Involvement
                                                                                                                   Consideration
 5
 6
         Cost Assigned to 1943 Year          $         2,239,030   $         1,360,707     $         1,360,707     $         1,360,707      $         1,360,707
 6
 7
         Components of Production 
 7
         Subject to Allocation (Front‐End                 100%                  100%                   45.6%                    45.6%                    35.1%
 8
         vs. Back‐End)
 8
 9
         Joint Impact on Cost Subject To 
 9       Allocation
                                             $         2,239,030   $         1,360,707     $            620,383    $            620,383     $            477,156
10
10       Remove Certain Costs From 
11       Consideration
                                                                                                                   $           (143,227)
11
12       Level of Involvement                          47.81%                 47.81%                  47.81%                  47.81%                   44.96%
12
13       Allocation to U.S. in 1943          $         1,070,513   $            650,574    $            296,614    $            228,135     $            214,531
13
14       Impact                                                    $           (419,939)   $           (773,899)   $           (842,378)    $           (855,982)
14       Share From White Allocation                                            ‐39.23%                 ‐72.29%                 ‐78.69%                  ‐79.96%
15
15       Incremental Impact                                        $           (419,939)   $           (353,960)   $             (68,479)   $             (13,604)
16       Incremental Share                                                      ‐39.23%                 ‐33.06%                   ‐6.40%                   ‐1.27%
16
17       White Supplemental Report (2017). Table 8.
17
18
18
19             26.        Specific issues with Mr. Low’s December 2017 declaration (Low Decl.). In Mr.
19
20   Low’s December 2017 declaration, he provides a set of spreadsheets intended to support his
20
21   opinion regarding the Government’s proposed allocation in this case. His declarations also include
21
22   various additional exhibits that show model runs that are intended to represent various alternative
22
23   allocation scenarios based on different inputs.
23
24             27.        It is my opinion that Mr. Low’s analyses, proposed allocation and alternative
24
25   allocation scenarios do not accurately represent the operations at these Facilities, include various
25
26   incorrect assumptions, and should not be relied on by the Court in this case. The following are just
26




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 1
 1   a number of the factors that are reflected in the Low analyses which are incorrect, and should be
 2
 2   rejected as the basis for allocation:
 3
 3                   a. Mr. Low states that the allocation should limit the response cost impacts
 4
 4                       associated with the wartime production of avgas to the “amount of avgas
 5
 5                       produced as a percentage of crude throughput.” Low Decl. ¶ 10. In essence, Mr.
 6
 6                       Low is proposing an “end-products” approach to allocation, in which the
 7
 7                       amount of waste attributed to the avgas production is based on how much avgas
 8
 8                       was produced, rather than on how much waste was actually generated by the
 9
 9                       avgas production process – the process needed to produce the avgas. Mr. Low
10
10                       finds favor in this “end-products” approach because even though both parties’
11
11                       technical experts concurred that all the crude oil had to be processed to make
12
12                       the avgas, due to the nature of crude oil and the refining process the Baytown
13
13                       and Baton Rouge refineries could only convert approximately 14% or 19%,
14
                         respectively, of each barrel of crude into avgas. However, Mr. Low’s “end-
14
15                       products” approach is inherently flawed because it fails to correlate response
15
16                       costs with the waste generated by the avgas production; under Mr. Low’s
16
17                       approach, Exxon incurred the response costs only to investigate and remove the
17
18                       avgas product, not to investigate and remove the waste, which should be the
18
19                       basis for the allocation. Mr. Low’s approach is also flawed because, as I
19
20                       summarized in ¶¶ 17-19 above and described fully in my January 2017
20
21                       Supplemental Report, in order to comply with the Government’s mandate for
21
22                       maximum avgas production, the production of avgas required the processing of
22
23                       all the crude oil, not some minor portion of it, and thus, the avgas production
23
24                       generated all the waste. Given the nature of a refinery and the avgas production
24
25                       process, the Government necessarily controlled the “front-end” of the refinery
25
26                       production process, and this required processing all of the crude oil to make as
26
                         much avgas as possible, and this avgas production also resulted in various other



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 1
 1                       byproducts, which were either other war products or raw materials needed to
 2
 2                       make other war products.
 3
 3                   b. Under his methodology, Mr. Low further attempts to reduce the response cost
 4
 4                       impacts associated with the wartime production of avgas based on Government
 5
 5                       expert “Dr. James Kittrell’s opinion that imported blending agents justify
 6
 6                       cutting the response cost impacts . . . by approximately 50%”. Low Decl. ¶ 10.
 7
 7                       In other words, under his “end-products” approach, Mr. Low suggests that the
 8
 8                       response cost impacts from the avgas production were only approximately 7%
 9
 9                       to 9% because avgas was 14% to 19% of these refineries’ production by
10
10                       volume, and 50% of this avgas production (i.e., 7% to 9%) was from imported
11
11                       raw materials. However, the limited imports of additional raw materials to the
12
12                       Baytown and Baton Rouge refineries did not change the fact that these
13
13                       refineries still had to process all of the crude to maximize the production of
14
                         avgas, and this generated the waste. See ¶¶ 17-19. In addition, according to a
14
15                       refinery materials volume analysis prepared by expert Mr. Beath regarding
15
16                       wartime production at the Baytown and Baton Rouge Facilities, both refineries
16
17                       exported to other refineries far greater amounts of raw materials than were
17
18                       imported from other refineries, the limited amounts of imported raw materials
18
19                       required additional processing that generated significant, additional waste, and
19
20                       nearly all of the avgas produced was from crude oil or other raw materials
20
21                       processed at these two refineries (i.e., 98.2% at Baytown, and 95.6% at Baton
21
22                       Rouge).36 Thus, the two core aspects of Mr. Low’s “end-products” approach –
22
23                       that the amount of avgas correlates to the amount of waste generated by avgas
23
24                       production, and that imports reduced the amount of waste generated by 50% -
24
25                       are technically invalid.
25
26
26   36
          Supplemental Report of John M. Beath (November 2014), pp. 5, 9 and 49-50.



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 1
 1                   c. Similarly, in his allocation methodology, Mr. Low also applies his flawed “end-
 2
 2                       products” approach to determining the response cost impacts associated with
 3
 3                       the production of “other war products” (aside from avgas), and also claims
 4
 4                       erroneously that only 22% and 25% of the products at the Baytown and Baton
 5
 5                       Rouge refineries, respectively, qualified as “other war products”. Low Decl. ¶
 6
 6                       14. However, Mr. Low’s “end-products” approach is equally flawed when
 7
 7                       applied to “other war products.” Once again, all of the crude had to be processed
 8
 8                       to maximize avgas, and as the Government itself acknowledged in the AvGas
 9
 9                       Contracts themselves, “substantial quantities of motor fuel and other products
10
10                       must necessarily be produced and sold in connection with the production of 100
11
11                       octane aviation gasoline”;37 in other words, these other products were
12
12                       byproducts of the avgas production. In any event, even when viewing the
13
13                       wartime operations from an end-products perspective, Mr. Low has grossly
14
                         underestimated the war products percentage because avgas and other war
14
15                       products essentially represented 100% of these two refineries’ production. For
15
16                       example, a 1943 internal Baytown refinery memorandum indicated that
16
17                       “current production of war products represents essentially 100% conversion of
17
18                       the Baytown refinery’s operations”38 and a 1943 Baton Rouge refinery report
18
19                       provided to Government officials indicated that critical and non-critical war
19
20                       products production accounted for 100% of the Facility’s production.39 Second,
20
21
21
22   37
          See, e.g., “Contract between Defense Supplies Corporation and Standard Oil Company of New Jersey
22
23        – 100-Octane Aviation Gasoline” dated Jan. 13, 1942 (A000501-A000518 at A000507).
23   38
          See Supplemental Report of A. J. Gravel (December 2012), p. 35 citing “Production of War Products
24        at Humble Oil & Refining Company’s Baytown Refinery” (Humble; Feb. 25, 1943) (A00395-A00407
24        at A00395).
25   39
25        See Rebuttal Report of A. J. Gravel (December 2012), p. 36 citing “Major War Products – Baton Rouge
26        Refinery” (May 30-31, 1943) (A000894-A000927 at A000907).
26




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 1
 1                        the Government acknowledged in its own 1946 war report that the “products
 2
 2                        for war” included, not only avgas, but also motor gasoline, kerosene, residual
 3
 3                        fuel oil, toluene, Navy special fuel oil and diesel fuel oil, tractor fuels,
 4
 4                        lubricants, asphalt and other products.40 In fact, on a monthly basis the
 5
 5                        Government dictated to the Baytown and Baton Rouge refineries the amount of
 6
 6                        crude oil that would be allocated, and from this crude the amounts of avgas and
 7
 7                        various other “products for war” listed above to produce during avgas
 8
 8                        production,41 and then followed up its monthly directives with regular
 9
 9                        telegrams setting forth new overnight instructions regarding the production of
10
10                        avgas and many of these other war products.42
11
11                    d. Further, in his allocation methodology Mr. Low does not take into account the
12
12                        BOW’s waste contribution and associated response cost impacts to the waste
13
13                        system at the Baytown Facility. The Government-owned and operated BOW
14
                          was not only the predominant source of the groundwater contamination at the
14
15                        BOW itself (i.e., currently known as the Tankfarm 3000 Area) as discussed in
15
16                        ¶ 27.d below, but contributed significant waste and contamination to the
16
17                        refinery waste system at the Baytown Facility in two key respects. First, a
17
18                        substantial portion of the Baytown refinery avgas production operations were
18
19                        dedicated to making naphtha feedstocks that were then sent to the BOW for
19
20                        processing into nitration-grade toluene (for TNT production) and various
20
21                        byproducts, which byproducts were returned to the refinery for avgas
21
22
22   40
23        Frey, J. and H. Ide, A History of the Petroleum Administration for War (U.S. Govt. Prt. Off.; 1946)
23        (excerpt) (A000157-A000226 at A000206 to A000209).
24   41
          See Rebuttal Report of A. J. Gravel (December 2012), p. 17; see, e.g., Govt. Ex. 53, Petroleum Industry
24        Committee, Forecast of Operations – June 1944, 5/19/1944, US-GEN013463-78; Govt. Ex. 58, ibid.,
25        Forecast of Operations – November 1944 (Oct. 19, 1944), US- GEN013602-21.
25   42
26        See Rebuttal Report of A. J. Gravel (December 2012), pp. 17-21.
26




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 1
 1                        production.43 In fact, over one-third of the output from the crude oil processed
 2
 2                        for avgas production simultaneously resulted in the production of a byproduct
 3
 3                        – naphtha – that was sent to the BOW for further processing.44 Consequently, a
 4
 4                        significant portion of the waste generated by the crude oil processing was to
 5
 5                        make feedstocks for the BOW. Second, the BOW relied wholly on the refinery
 6
 6                        waste system for the processing of the BOW-generated wastewaters because
 7
 7                        the BOW lacked its own wastewater-handling facilities.45 In my allocation, I
 8
 8                        attributed 25% of the wastes (and associated contamination and response costs)
 9
 9                        managed by the refinery waste system during the BOW’s period of operation
10
10                        to the BOW – a very conservative allocation given that the BOW feedstocks
11
11                        accounted for over one-third of the output from crude processing, and this 25%
12
12                        figure does not even reflect the substantial amounts of BOW wastewaters sent
13
13                        to the refinery waste system.46 In contrast, Mr. Low inexplicably attributed 0%
14
                          of the wastes, contamination and associated response cost impacts at the
14
15                        refinery’s waste system to the BOW during its period of operation – another
15
16                        critical error in his allocation methodology.
16
17                    e. While Mr. Low and I assign various “degree of involvement” percentages to
17
18                        the U.S. for the wartime period, due to Mr. Low’s flawed “end-products”
18
19                        approach, he only attributes to the U.S. a “degree of involvement” percentage
19
20                        for a very unreasonably small portion of the “other war products”, i.e., only
20
21
21
     43
22        White Supplemental Report (January 2017), pp. 96-98.
22   44
          White Supplemental Report (January 2017), pp. 97-98 quoting “Data on War Projects, Baytown
23
          Refinery,” (Humble Oil; June 2, 1943) (A00872-A000893 at A000883 to A000884). (This document
23
24        indicates that 50,000 barrels per day (“B/D”) of naptha from crude oil processing at the refinery was
24        sent to the BOW, and according to this same document at that time the Baytown Refinery was
25        processing 139,470 B/D of crude oil (A000890); thus, over one-third of the crude oil resulted in this
25        naphtha feedstock for the BOW).
26   45
          Expert Report of A. J. Gravel (June 2012), p. 51; Expert Report of Jere M. Johnson (June 2012), p. 81.
26   46
          White Supplemental Report (January 2017), p. 98.



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 1
 1                   22% to 25% of the “other war products” at the Baytown and Baton Rouge
 2
 2                   refineries, respectively. The effect of Mr. Low’s “end-products” approach is
 3
 3                   that he attributes to the U.S. no “degree of involvement” (i.e., 0%) for at least
 4
 4                   two-thirds of the wartime operations at both refineries. In contrast, under my
 5
 5                   “front-end” approach, the U.S. is appropriately attributed a fair and reasonable
 6
 6                   “degree of involvement” percentage for the entire wartime operations at both
 7
 7                   refineries because the Government was involved in controlling all of the crude
 8
 8                   oil and other essential raw materials and all of the plant operations.
 9
 9                f. Mr. Low and I apply various waste contribution percentages with respect to the
10
10                   amounts of Plancor waste streams, relative to the amount of the refinery’s
11
11                   wastewaters, that are processed in the refinery waste processing system at each
12
12                   Facility. However, under Mr. Low’s allocation approach, the response cost
13
13                   impacts associated with these Plancor waste streams (as well as the overall
14
                     wartime operations) is negligible because Mr. Low’s “years-of-use” approach
14
15                   treats each year of operation the same in terms of waste generation, when in
15
16                   fact the historical record shows that the waste and contaminant contribution
16
17                   from the Plancors and other wartime operations was substantially greater than
17
18                   the post-war operations beginning in approximately the mid-1950s as a result
18
19                   of the effect on pollution reduction from the significant, post-war process
19
20                   control and waste handling improvements.
20
21                g. In his allocation methodology, Mr. Low does not adequately account for the
21
22                   parties’ intent regarding the allocation of wartime-related response costs set
22
23                   forth in the AvGas Contracts. Mr. Low acknowledges the existence of the
23
24                   contractual cost reimbursement provision and that “the Government has
24
25                   accepted that it is required to indemnify Exxon for costs generated ‘by reason
25
26                   of’ the production of aviation gasoline,” Low Decl. ¶ 10; however, Mr. Low’s
26
                     interpretation of the indemnity is far too narrow and contradicted by the



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 1
 1                       technical limitations on refinery operations. That is, Mr. Low’s model assigns
 2
 2                       to the U.S. 100% of the “response cost impacts associated with the amount of
 3
 3                       avgas” but, as discussed in ¶ 27.a above, then defines these response costs
 4
 4                       impacts to be avgas production “as a percentage of crude throughput.” Id. For
 5
 5                       the reasons discussed above (i.e., that all of the crude had to be processed to
 6
 6                       maximize the production of avgas and these production operations generated
 7
 7                       the waste), Mr. Low’s model severely understates the costs associated with the
 8
 8                       production of avgas and the scope of what costs the contractual cost
 9
 9                       reimbursement provision covers.
10
10                   h. In addition, consistent with other allocation precedents, the allocation
11
11                       methodology should have reflected the fact that the Government imposed
12
12                       stringent restrictions on the implementation of waste processing improvements,
13
13                       and essentially denied various applications for the construction of pollution
14
                         control equipment and facilities during WWII. In my view, this factor should
14
15                       be considered as part of the equitable allocation and is addressed in my
15
16                       allocation methodology as set forth in my January 2017 Supplemental Report.47
16
17           28.     In addition to the various incorrect assumptions and other flawed aspects of Mr.
17
18   Low’s analyses that I described above in ¶¶ 26-27, which invalidate his entire allocation
18
19   methodology because he applies them universally, Mr. Low also employs additional incorrect
19
20   assumptions and factors in his allocation analysis for specific waste units at both Sites that he
20
21   proposed to the Court in his January 2017 Supplemental Report, refers to in his declaration, and
21
22   summarizes in Exhibit A attached to his declaration. See Low Decl. ¶ 8 (and attached Exhibit 8).
22
23   These additional incorrect assumptions and factors further undermine his unit-by-unit analysis.
23
24
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25
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26   47
          See White Supplemental Report (January 2017), pp. 100-145.



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 1
 1   Below I have described some of the most significant of these additional flawed aspects of his
 2
 2   analysis for specific units.
 3
 3                    a. South Landfarm at the Baytown Site: Mr. Low’s analysis of this unit is flawed
 4
 4                        for several reasons. First, his methodology incorrectly applies an adjustment
 5
 5                        factor that reduces by 98% the amount of Separators 3M and 10 contaminated
 6
 6                        soils disposed of in the South Landfarm. According to experts Mr. Gravel and
 7
 7                        Mr. J. Johnson, there is a Federal nexus to the response costs for the South
 8
 8                        Landfarm primarily because contaminated soils were disposed there that were
 9
 9                        removed from around and below Separators 3M and 10 - two wartime-related
10
10                        waste units.48 Mr. Low claims that only 2% of the wastes at the South Landfarm
11
11                        were contaminated soils from Separators 3M and 10 based on a cleanup/closure
12
12                        plan estimate of the amount of contaminated soils to be removed from those
13
13                        two units. However, the plan’s estimate significantly underestimated the
14
                          amount of contaminated soils removed from Separators 3M and 10 and the
14
15                        associated costs; for instance, the estimate indicated that the contaminated soil
15
16                        removal cost would be only approximately $45,000 for the two units, and the
16
17                        ultimate cost of the removal action was over $4 million for the two units.49 In
17
18                        addition, Mr. Low’s analysis further compounds this error by applying a 58-
18
19                        year period (i.e., 1928-85) for allocating the response costs, even though the
19
20                        landfarm itself was only in operation for approximately 15 years.50 Mr. Low’s
20
21                        flawed methodology results in an indefensible U.S. allocated share of only
21
22
22
23   48
          Expert Report of A. J. Gravel (June 2012), pp. 113-16; Expert Report of Jere M. Johnson (June 2012),
23
24        pp. 82-83, 85.
24   49
          Closure Plan for Spill Basin 1, Separators 3A and 3M, and the South Landfarm (Jan. 20, 1985)
25        (A003616-A003704 at A003671 (Spill Basin 1, which is Separator 10, cost estimate), and A003703
25        (Separator 3M cost estimate).
26   50
26        Expert Report of A. J. Gravel (June 2012), page 114 (landfarm began operating in 1974 until its cleanup
          in 1990).



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 1
 1                        0.04% - $793.18 – for total South Landfarm response costs of approximately
 2
 2                        $1.7 million (as set forth in line item “B. South Landfarm Cleanup” under the
 3
 3                        columns titled “Adjusted U.S. Allocation” and “U.S. Share ($) Based on Exxon
 4
 4                        Claimed Costs”, respectively).
 5
 5                    b. Investigation of SWMUs at the Baytown Site: Mr. Low incorrectly suggests
 6
 6                        that Exxon failed to take into account that 50% of the SWMUs that were the
 7
 7                        subject of an ongoing RCRA Facility Investigation (“RFI”) at the Baytown Site
 8
 8                        were not wartime-related. This is inaccurate; while I agree that 50% are not
 9
 9                        wartime-related, my allocation methodology fully addresses this issue by
10
10                        incorporating an allocation period that encompasses the entire period of refinery
11
11                        operations (i.e., 1920 to 1985), even though most of the SWMUs subject to the
12
12                        RFI operated for only one-third to one-half of this time period. In other words,
13
13                        my allocation methodology distributes these SWMUs investigation costs over
14
                          a 66-year period (i.e., 1920 to 1985) and for most of these years the U.S. is not
14
15                        allocated any share of the costs, even though according to historical expert Mr.
15
16                        Gravel none of the wartime SWMUs were in operation for that entire time
16
17                        period, and the years of operation of almost all of these SWMUs ranged from
17
18                        18 to 36 years.51
18
19                    c. Facility Operations Area (FOA) at the Baytown Site: Mr. Low’s analysis of the
19
20                        FOA investigation costs is flawed because he applies a time period of 1928 to
20
21                        2011 for allocation of these costs. As I noted in ¶ 9 above, 1985 is the
21
22                        appropriate end point for the allocation of costs at the Baytown Facility because
22
23                        by or before this date the operations of the Facility would have been subject to
23
24                        stringent environmental regulatory and permitting requirements under both
24
25                        state and federal law and any post-1985 contamination would have been
25
26
26   51
          Expert Report of A. J. Gravel (June 2012), pp. 131-33.



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 1
 1                        negligible. Similarly, Mr. Low’s 25-year increase of the end point beyond 1985
 2
 2                        for the allocation of FOA investigation costs lacks any reasonable factual basis
 3
 3                        because the FOA investigations were primarily focused on releases of
 4
 4                        hazardous substances, and risks or threats to human health or the environment
 5
 5                        posed by those releases, from historical waste and contamination arising before
 6
 6                        1985, particularly for example the SWMUs whose operations pre-date 1985 and
 7
 7                        other areas of historic groundwater contamination, and also given that any post-
 8
 8                        1985 contamination would have been negligible.52
 9
 9                    d. BOW Groundwater Contamination at the Baytown Site: Mr. Low has
10
10                        inaccurately attributed 58% of the cleanup costs for the BOW groundwater
11
11                        contamination to the Baytown Refinery and 42% to the Baytown Chemical
12
12                        Plant. He bases this allocation on an allegation that Exxon itself provided this
13
13                        allocation and on no other justifiable factor. This is inaccurate; in fact, two of
14
                          Exxon’s experts – Messrs. Gagnon and Gravel – have opined that this is
14
15                        inaccurate. Contaminant contribution expert Mr. Gagnon prepared a detailed,
15
16                        technical report showing how the contaminants of concern in the groundwater
16
17                        were also constituents common in either the feedstocks processed at the BOW
17
18                        or products or byproducts manufactured at the BOW.53 Historical expert Mr.
18
19                        Gravel showed how the historical locations of various BOW production,
19
20                        transport and storage facilities and their operations corresponded to the location
20
21                        and nature of this groundwater contamination.54 These technical and historical
21
22                        analyses establish that the wartime BOW operations were the predominant
22
23                        source of this contamination. Second, another unjustifiable element of Mr.
23
24
24   52
25        Rebuttal Report of Stephen A. Johnson (March 2017), pp. 66-76; Expert Report of A. J. Gravel (June
25        2012), p. 133.
26   53
          Rebuttal Report of Peter J. Gagnon (December 2012), pp. 11-14.
26   54
          Expert Report of A. J. Gravel (June 2012), pp. 120-23.



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 1
 1                        Low’s allocation of these cleanup costs is that he allocates part of the
 2
 2                        responsibility for this BOW groundwater contamination to a period of time
 3
 3                        when the land where the groundwater contamination exists was undeveloped.
 4
 4                        Specifically, Mr. Low’s allocation for these cleanup costs includes the non-
 5
 5                        wartime period of 1928 to 1940. However, the BOW was not constructed until
 6
 6                        1941, and was constructed on pristine, undeveloped land, and therefore, no
 7
 7                        activity was occurring on this land during the 1928 to 1940 period that
 8
 8                        contributed to this groundwater contamination.55 Third, Mr. Low further skews
 9
 9                        his allocation calculations by suggesting that a 1993 investigatory report
10
10                        indicated that the source of this groundwater contamination was post-war
11
11                        operations, when in fact this 1993 report was never intended to address whether
12
12                        the BOW operations was the source of this contamination in the first place.56
13
13                        Accordingly, Mr. Low’s proposed allocation for the cleanup costs associated
14
                          with the BOW groundwater contamination rely on a number of inaccurate
14
15                        assumptions that result in a substantial underestimate of the BOW operations’
15
16                        contribution to this contamination and the Government’s appropriate allocated
16
17                        share of the costs.
17
18                    e. Old Silt Pond and Rice Paddy Landfarm at the Baton Rouge Site: Mr. Low’s
18
19                        analysis of these two waste units is fundamentally flawed; he states that the
19
20                        units did not begin to operate until after WWII and therefore assumes that the
20
21                        wartime operations did not contribute to the contamination that have been the
21
22                        subject of Exxon’s cleanup actions. However, Mr. Low’s analysis fails to take
22
23
23
24
24   55
          Expert Report of A. J. Gravel (June 2012), p. 43 (Figure 5) and p. 47 (Figure 7) (the 1938 aerial
25        photograph of the Baytown Facility in Figure 7 shows undeveloped land in the subsequent location of
25        the BOW and the groundwater contamination shown in Figure 5).
26   56
26        Rebuttal Report of A. J. Gravel (December 2012), p. 33 (“The investigation was not designed to provide
          a retrospective forensic source analysis covering the entire period of BOW operations”).



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 1
 1                        into account that both units had to be cleaned up because of the underlying
 2
 2                        Shallow Fill Zone that was composed of contaminated waste materials
 3
 3                        generated by the wartime operations. Based on analysis of historical aerial
 4
 4                        photographs, other historical records and cleanup-related reports, three different
 5
 5                        experts – aerial photography analysis expert Wayne Grip, historical expert Mr.
 6
 6                        Gravel, and refinery waste remediation expert Mr. J. Johnson – confirmed
 7
 7                        numerous separate factual bases establishing that wastes and wastewaters
 8
 8                        generated by the WWII operations at the Baton Rouge Facility were a very
 9
 9                        significant source of the contaminated fill materials and other waste materials
10
10                        – known as the Shallow Fill Zone – at these waste units, and subsequent
11
11                        wartime-related wastes continued to add to the waste and contamination in the
12
12                        Shallow Fill Zone and these units during the late 1940s and early 1950s. These
13
13                        numerous separate factual bases and supporting historical and technical
14
                          documents are detailed in these experts’ respective reports.57 In addition,
14
15                        according to Michael Pisani, who was the environmental consultant conducting
15
16                        these response actions under the approval and oversight of the Louisiana
16
17                        Environmental Protection Agency, and prepared the related environmental
17
18                        reports, the wartime-related, underlying contaminated fill materials at these two
18
19                        units were the “driver” for the nature and scope of the cleanup activities and
19
20                        their costs, and this was further confirmed by a review of the cleanup-related
20
21                        documentation by cleanup process expert Mr. S. Johnson.58
21
22
22
23
23
24
24   57
          Rebuttal Report of Wayne M. Grip (December 2012), pp. 7-10 (and attached historical aerial
25        photographs); Expert Report of A. J. Gravel (June 2012), pp. 203-04 and 211-17; Expert Report of Jere
25        M. Johnson (June 2012), pp. 97 and 101.
26   58
26        Declaration of Michael Pisani (December 2017) (attached to Exxon’s summary judgment motion as
          Exhibit 12); Expert Report of Stephen M. Johnson (May 2016), pp. 99-101 and 107-09.



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 1
 1          29.     For reasons set forth in my reports as well as in this declaration, I do not agree with
 2
 2   the individual, unit by unit analysis proposed by Mr. Low.
 3           
 3
 4
 4
 5   I declare that the foregoing is true and correct under penalty of perjury of the laws of the United
 5
 6   States. Executed on May 9, 2018.
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10                                                                    Richard Lane White
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